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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

MDL NO. 2409
IN RE: NEXIUM (ESOMEPRAZOLE)
ANTITRUST LITIGATION CIVIL ACTION NO.

12-MD-02409-WGY

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JURY VERDICT

1. Did AstraZeneca exercise market power within the
relevant market?
no V yes
2. Did the settlement of the AstraZeneca-Ranbaxy patent

litigation include a large and unjustified payment by
AstraZeneca to Ranbaxy?

no yes

3. Was AstraZeneca’s Nexium settlement with Ranbaxy
unreasonably anticompetitive, i.e. did the
anticompetitive effects of that settlement outwiegh any
pro-competitive justifications?

no yes
4. Had it not been for the unreasonably anticompetitive
settlement, would AstraZeneca have agreed with Ranbaxy

that Ranbaxy might launch a generic version of Nexium
before May 27, 2014?

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5. If so, what would be the effective date of sucha
license?

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6.a. Had it not been for the unreasonably anticompetitive
settlement, would Ranbaxy have agreed with Teva to

launch a generic version of Nexium before May 27, 2014?

no yes
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6.b. If so, when would Teva have launched?

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7. If a generic version of Nexium had come to market,
would an authorized generic have entered at or about
the same time?

no yes

 

 

 

 

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